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 5                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WASHINGTON
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 7   UNITED STATES OF AMERICA,                      No.    CR-08-6014-EFS-02

 8                                 Plaintiff,       ORDER GRANTING IN PART DENYING IN
                                                    PART AND HOLDING IN ABEYANCE IN
 9                  v.                              PART, PLAINTIFF’S MOTION FOR
                                                    DECLARATION OF $50,000 BAIL
10   GUADALUPE RESPICIO ORTEGA-MENDEZ               FORFEITURE AND DEFAULT JUDGMENT,
     (02),                                          AND GRANTING IN PART AND DENYING
11                                                  IN PART, MR. ORTEGA’S MOTION TO
                                   Defendant.       SET ASIDE BAIL FORFEITURE
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14           This matter comes before the Court on Plaintiff United States of

15   America’s      Motion   for    Declaration     of    $50,000   Bail   Forfeiture   and

16   Default Judgment, ECF No. 107.             The U.S. Attorney’s Office (USAO) asks

17   the Court to declare forfeited and enter default judgment on the

18   $50,000 unsecured appearance bond posted by Ramon Ortega and Miguel

19   Prieto, ECF No. 25, which was intended to secure the appearance of

20   Defendant Guadalupe Respicio Ortega-Mendez at all court proceedings in

21   this matter.        Victor Lara, on behalf of Mr. Ortega, opposes the motion

22   and moves to set aside the bail forfeiture.                    ECF No. 181.    At the

23   November 7, 2013 hearing, the Court ruled on these motions; this Order

24   memorializes and supplements the Court’s oral ruling.

25           On March 3, 2008, as a condition of Defendant’s release pending

26   trial, Ramon Ortega, Miguel Prieto, and Defendant jointly posted a




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 1   $50,000 unsecured appearance bond to ensure, among other things, that

 2   the Defendant would “appear before this [C]ourt and at such other

 3   places as the [D]efendant may be required to appear, in accordance

 4   with any and all orders and directions relating to the [D]efendant’s

 5   release” in this case.           ECF No. 25.         On July 25, 2008, Defendant

 6   failed to appear for the pretrial conference in his case, ECF No. 78,

 7   and a bench warrant was issued for Defendant’s arrest, ECF No. 76.                        To

 8   date, Defendant has not been arrested.              On February 11, 2013, the USAO

 9   sought the forfeiture of the surety bond.                 ECF No. 108.           On October

10   23, 2013, Ramon Ortega sought to set aside forfeiture.                     ECF No. 181.

11           Pursuant to Federal Rule of Criminal Procedure 46(f), the Court

12   “must    declare   the   bail    forfeited    if    a    condition    of    the    bond   is

13   breached.”     Fed. R. Crim. P. 46(f)(1).           In other words, forfeiture is

14   mandatory when a bond condition is breached.               United States v. Nguyen,

15   279 F.3d 1112, 1115 (9th Cir. 2002).               The bond is a contract between

16   the   government,    the   Defendant,    and       the   surety,     and    is    therefore

17   subject to the six-year statute of limitations found in 28 U.S.C. §

18   2415.     See United States v. Toro, 981 F.2d 1045, 1047-48 (9th Cir.

19   1992).    There is no requirement, statutory or otherwise, that the USAO

20   notify sureties when a defendant absconds.                United States v. Marquez,

21   564 F.2d 379, 380 (10th Cir. 1977) (“[I]t would be incongruous to

22   condition the sureties’ liability on notice by the government of the

23   defendant’s failure to appear, and we decline to do so.”).                         In fact,

24   sureties are presumed to have constructive notice when a condition of

25   the bond is breached.           United States v. Felix-Meza, 825 F.2d 1334,

26   1336 (9th Cir. 1987) (per curiam) (“Because [the bond agent] Flores




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 1   was legally required to assure [defendant] Felix-Meza's appearance and

 2   learn of her failure to appear, Flores was charged with constructive

 3   notice that Felix-Meza had not appeared.”).                          Although the USAO does

 4   not     explain       why   it    waited    more     than    four     years       to   seek   bail

 5   forfeiture, the motion is not barred by the statute of limitations.

 6   Accordingly, the Court must declare the bond of $50,000 forfeited.

 7           After     a    court     declares   a    bond   forfeit,      the    court     may    still

 8   “remit in whole or in part the judgment under the same conditions

 9   specified in Rule 46(f)(2).”                Fed. R. Crim. P. 46(f)(4).                 Under Rule

10   46(f)(2)(B),          the   court   may     remit    forfeiture       if    “it    appears    that

11   justice does not require bail forfeiture.”                       The Court must evaluate

12   six factors to determine whether to set aside or remit all or part of

13   the forfeiture:

14           1) the defendant's willfulness in breaching a release
             condition; 2) the sureties' participation in apprehending
15           the defendant; 3) the cost, inconvenience, and prejudice
             suffered by the government; 4) mitigating factors; 5)
16           whether the surety is a professional or a member of the
             family or a friend; and 6) the appropriateness of the
17           amount of the bond.

18   Nguyen, 279 F.3d at 1115-16.                    If any portion of the forfeiture is

19   remitted, the Court must partially exonerate the bond.                            Id. at 46(g).

20           The first, third, and sixth factors favor the government.                             There

21   can be no reasonable dispute that the Defendant willfully breached his

22   release condition by absconding, and the government suffered cost and

23   inconvenience in            preparing for       a trial      that was not          held and     in

24   attempting to locate and apprehend Defendant.                         Furthermore, the bond

25   amount was not unreasonable.                Additionally, the Court notes that Mr.

26   Ortega is a family member of Defendant and not a professional surety.




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 1           Having weighed these factors, and in the interests of justice,

 2   the   Court    finds   it   appropriate     to     remit    $42,500      of    the   $50,000

 3   forfeiture as to Mr. Ortega.         As to Defendant Ortega-Mendez, the Court

 4   finds the interests of justice require no remittance.                         Additionally,

 5   as Mr. Prieto was not present, and allusions were made to possible

 6   medical issues, the Court holds in abeyance for two weeks its decision

 7   as to remittance as to Mr. Prieto, to await any additional information

 8   that may be provided.

 9           Accordingly, IT IS HEREBY ORDERED:

10           1.     The   USAO’s    Motion     for      Declaration      of        $50,000   Bail

11                  Forfeiture and Default Judgment, ECF No. 107, is GRANTED IN

12                  PART, DENIED IN PART, and HELD IN ABEYANCE IN PART.

13           2.     Ramon Ortega’s Motion to Set Aside Forfeiture, ECF No. 181,

14                  is GRANTED IN PART AND DENIED IN PART.

15           3.     Pursuant to Rule 46(f)(1), the Court declares the $50,000

16                  appearance bond in the above-captioned matter, ECF No. 25,

17                  FORFEITED    based   on   the    fact    that    Defendant       breached   a

18                  condition of the bond.

19           4.     Pursuant to Rule 46(f)(4) and 46(g), the Court REMITS and

20                  EXONERATES $42,500 of that forfeiture in the interests of

21                  justice as to Mr. Ramon Ortega.

22           5.     DEFAULT JUDGMENT is hereby rendered in favor of the United

23                  States of America, in the amount of FIFTY THOUSAND DOLLARS

24                  ($50,000).      As to this default-judgment amount, default

25                  judgment is entered against Defendant Ortega-Mendez in the

26                  amount of $50,000, and default judgment is entered against




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 1                    Mr. Ramon Ortega in the amount of $7,500.                    Defendant and

 2                    Mr.    Ramon      Ortega      are   jointly   and    severally   liable   for

 3                    $7,500 of the total $50,000 awarded to the United States of

 4                    America.

 5           6.       The Court holds in abeyance until two weeks from the date

 6                    of this Order its ruling on remittance and judgment as to

 7                    Miguel Prieto.

 8           IT IS SO ORDERED.              The Clerk’s Office is directed to enter this

 9   Order and provide copies to the USAO, defense counsel, counsel for the

10   Sureties, Sureties, and the Court’s Financial Administrator.

11           DATED this           12th _     day of November 2013.

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                                    _______s/Edward F. Shea__
13                                         EDWARD F. SHEA
                                Senior United States District Judge
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